  Fill in this information to Identifythe case:

  United States Bankruptcy Court for the:
    Northern                nistriadOhio, Western Division
                                     (State)
  Case number diknott4:                                    Chapter

                                                                                                                                   ❑ Check if this is an
                                                                                                                                     amended filing
Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                       12115

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtors name and case number (if
known).


           Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


1. Chapter of the                  Check one:
   Bankruptcy Code
                                   In Chapter 7
                                   ❑ Chapter 11


Part 2:    Identify the Debtor


2. Debtor's name                     Northwest Capital Investors LLC


3. Other names you know
   the debtor has used in
   the last 8 years
   Include any assumed
   names,trade names, or
   doing business as names.

4. Debtor's federal
   Employer Identification         ® Unknown
   Number (EIN)
                                   FIN

                                   Principal place of business                                    Mailing address, if different
s. Debtor's address

                                    7644 Kings Pointe Road
                                   Number         Street                                          Number      Street


                                                                                                  P.O. Box

                                    Toledo                               OH       43617
                                   City                                 State    ZIP Code         City                            State      ZIP Code


                                                                                                  Location of principal assets, if different from
                                                                                                  principal place of business
                                    Lucas
                                   County                                                         Number      Street




                                                                                                  City                            State      ZIP Code

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Debtor       :Northwest Capital Investors, LLC                                              Case number to mom)
             Nama



8. Debtor's website (URL)      www.northwestcap.com


7. Type of debtor
                               II   Corporation (including Limited Liability Company(LLC)and Limited Liability Partnership (LLP))
                               ❑ Partnership (excluding LLP)
                               ❑ Other type of debtor. Specify:


8. Type of debtor's
                                Check one:
   business
                               ❑ Health Care Business (as defined in 11 U.S.C.§ 101(27A))
                               ❑ Single Asset Real Estate (as defined in 11 U.S.C.§ 101(51B))
                               ❑ Railroad (as defined In 11 U.S.C.§ 101(44))
                               ❑ Stockbroker(as defined in 11 U.S.C.§ 101(53A))
                                ❑ Commodity Broker(as defined In 11 U.S.C.§ 101(6))
                                ❑ Clearing Bank (as defined in 11 U.S.C.§ 781(3))
                               ▪ None of the types of business listed.
                                ❑ Unknown type of business.


e. To the best of your         • No
   knowledge, are any
   bankruptcy cases             ❑ Yes. Debtor                                                               Relationship
   pending by or against
   any partner or affiliate              Distdd                                Date filed                   Case number, if known
                                                                                            MM/DD / YYYY
   of this debtor?

                                         Debtor                                                             Relationship

                                         District                              Date filed                   Case number, If known
                                                                                            MM/DD/YYYY



             Report About the Case

10. Venue                       Check one:

                               ii Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
                                  business, or principal assets in this district longer than In any other district.

                               ❑ A bankruptcy case concerning debtors affiliates, general partner, or partnership is pending In this district.


11. Allegations                Each petitioner is eligible to file this petition under 11 U.S.C.§ 303(b).
                               The debtor may be the subject of an involuntary case under 11 U.S.C.§ 303(a).

                               At least one box must be checked:

                               in The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
                                  fide dispute as to liability or amount.

                                ❑ Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
                                  agent appointed or authorized to take charge of less than substantially all of the property of the
                                  debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

12. Has there been a                No
    transfer of any claim
    against the debtor by or    ❑ Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
    to any petitioner?              Rule 1003(a).


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Debtor            Northwest Capital Investors, LLC                                                       Case number (nnown)
               Hama


13. Each petitioner's claim                    Name of petitioner                                     Nature of petitioner's claim                Amount of the claim
                                                                                                                                                  above the value of
                                                                                                                                                  any lien

                                                 Patrick J. Kenney                                       Breach of Contract                       $ 2,300,000.00




                                                                                                            Total of petitioners' claims          $ 2,300,000.00

   If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor's name and the case number, if known, at
   the top of each sheet. Following the format of this form, set out the Information required in Parts 3 and 4 of the form for each
   additional petitioning creditor, the petitioner's claim, the petitioner's representative, and the petitioner's attorney. Include the
   statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner's (or representative's)signature,
   along with the signature of the petitioner's attorney.


Part 4:      Request for Relief

   WARNING -- Bankruptcy fraud is a serious crime. Making a false statement In connection with a bankruptcy case can result in fines up to
   $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

   Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a
   petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a
   foreign representative appointed In a foreign proceeding, attach a certified copy of the order of the court granting recognition.

    I have examined the information in this document and have a reasonable belief that the information is true and correct.

    Petitioners or Petitioners' Representative                                             Attorneys


    Name and mailing address of petitioner

     Patrick J. Kenney                                                                      James P. Silk, Jr.                             _,__
    Name                                                                                   Printed name
                                                                                            SPENGLER NATHANSON P.L.L.
     114 S. Superior Street                                                                Firm name, if any
    Number     Street

     Toledo                                       OH                   43604                900 Adams Street
    City                                         State               ZIP Code              Number    Street
                                                                                            Toledo                                   OH               43604
                                                                                           City                                      State           ZIP Code
    Name and mailing address of petitioner's representative, if any

                                                                                           Contact phone419.252.6210 Email jsilk@snlaw.com
    Name

                                                                                           Bar number       0062463
    Number     Street
                                                                                           State            Ohio
    City                                         State               ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

    Executed on     OVP/2022                                                            X /s/ James P. Silk, Jr.
                   MM / DD / YYYY
                                                                                           Signature of attorney
 X /s/Patrick J. Kenney
                                                                                           Date signed        01113/2022
    Signature of petitioner or representative, including representative's title
                                                                                                              MM / DD / YYYY


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Debtor          Northwest Capital Investors, LLC                                                         Case number
               Name




   Name and mailing address of petitioner
                                                                                           Michael W. Bragg
   Name                                                                                    Printed name

                                                                                            SPENGLER NATHANSON P.L.L.
                                                                                           Firm name, if any
    Number     Street
                                                                                            900 Adams Street
                                                 State               ZIP Code              Number    Street
    City
                                                                                            Toledo                                 OH          43604
                                                                                           City                                   State        ZIP Code
    Natne and mailing address of petitioner's representative, if any
                                                                                           Contact phone   419.252.6271 Email mbragg@snlaw.com
    Name
                                                                                           Bar number       0030384
    Number     Street
                                                                                           State            Ohio
    City                                         State               ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct

    Executed on                                                                        )( /s/ Michael W. Bragg
                   MM /DD /YYYY                                                            Signature of attorney


x                                                                                          Date signed        01/13/2022
    Signature of petitioner or representative, Including representative's title                               MM /DD /YYYY


    Name and mailing address of petitioner


    Name                                                                                   Printed name


                                                                                           Firm name, if any
    Number     Street


                                                                      ZIP Code             Number     Street
    City                                          State


                                                                                           City                                   State        ZIP Code
    Name and mailing address of petitioner's representative, if any
                                                                                           Contact phone                        Email

    Name
                                                                                           Bar number

    Number     Street
                                                                                           State

    City                                          State               ZIP Code

     I declare under penalty of perjury that the foregoing is true and correct.

    Executed on
                   MM / DD / YYYY                                                          Signature of attorney

 x                                                                                         Date signed
    Signature of petitioner or representative, Including representative's title                                MM / DD / YYYY




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